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                  UNITED STATES DISTRICT COURT
                                 District of Kansas
                                 (Kansas City Docket)


UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                  CASE NO.        2:23-cr-20048-HLT/ADM

JOSE ANTONIO HEREDIA-CHANG,
    and
NOEL RIOS-SALAZAR,

                           Defendants.




                                 INDICTMENT

      THE GRAND JURY CHARGES:

                                    COUNT ONE

              CONSPIRACY TO DISTRIBUTE AND POSSESS WITH INTENT
                      TO DISTRIBUTE METHAMPHETAMINE
                                [21 U.S.C. § 846]

      Beginning on or about February 2, 2023, and continuing to on or about August 8,

2023, both dates being approximate and inclusive, in the District of Kansas and elsewhere,

the defendants,

                             JOSE A. HEREDIA-CHANG
                                       and
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                                NOEL RIOS-SALAZAR,

knowingly and intentionally conspired with each other and with other persons, both known

and unknown to the grand jury, to commit the following offenses against the United States:

possession with intent to distribute 500 grams or more of a mixture and substance

containing a detectable amount of methamphetamine and distribution of 500 grams or more

of a mixture and substance containing a detectable amount of methamphetamine, a

controlled substance, which included the reasonably foreseeable conduct of other members

of the conspiracy, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A)(viii).

       In violation of Title 21, United States Code, Section 846, and Title 18, United States

Code, Section 2.

                                FORFEITURE NOTICE

       1.     The allegations contained in Count 1 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

Title 21, United States Code, Section 853, and Title 28, United States Code, Section

2461(c).


                      CONTROLLED SUBSTANCE FORFEITURE

       2.     Upon conviction of the offense identified in Count 1 of this Indictment, the

defendants,

                             JOSE A. HEREDIA-CHANG
                                       and
                               NOEL RIOS-SALAZAR,


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shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853,

any property constituting or derived from any proceeds obtained, directly or indirectly, as

the result of such offense, and any property used or intended to be used, in any manner or

part, to commit or facilitate the commission of the offenses including, but not limited to,

the following:

          a. a FEG firearm model PJK-9HPFEG .9mm pistol, bearing serial number

              F26119;

          b. a Masterpiece Arms model MPA Defender .9mm pistol, bearing serial

              number FX12458 with suppressor attached;

          c. a Sig, Model 250 .40 caliber pistol, bearing serial number EAK102886;

          d. a Romarm, Model Wager 10, 7.62x39mm rifle, bearing serial number

              BY365886;

          e. an InterArms Model Hellpup, 7.62x39mm pistol bearing serial number

              PAC115717621;

          f. an Anderson Mfg. Model AM15 pistol bearing serial number 20131513;

          g. a Kimber, Pro Carry II, .45 caliber, bearing serial number KR295845;

          h. a Smith and Wesson firearm model SD-40, .40 caliber, bearing serial number

              FBF9802;

          i. a Taurus GX4, 9mm pistol bearing serial number 1GA25099;

          j. a F.N. Herstal Model Scar 17S, .308 caliber rifle bearing serial number

              HC12359;



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            k. a Romarm, Model Mini Draco, 7.62mm pistol bearing serial number

               PD42642014RO;

            l. ammunition seized in connection with this investigation;

            m. United States currency seized on August 8, 2023;

            n. United States currency seized on April 12, 2023; and

            o. a forfeiture judgment imposed against each defendant in an amount that
               equals the amount of proceeds obtained by that defendant.

       4.      If any of the property described above, as a result of any act or omission of

the defendants:

            a. cannot be located upon the exercise of due diligence;

            b. has been transferred or sold to, or deposited with, a third party;

            c. has been placed beyond the jurisdiction of the court;

            d. has been substantially diminished in value; or

            e. has been commingled with other property which cannot be divided without

               difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to Title 21, United States Code, Section 853(p).



                                            A TRUE BILL.



August 23, 2023                             s/Foreperson
DATE                                        FOREPERSON OF THE GRAND JURY


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    IT IS REQUESTED THAT THE TRIAL BE HELD IN KANSAS CITY, KANSAS




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                                        PENALTIES

Count 1: Conspiracy to Distribute and Possess with Intent to Distribute
Methamphetamine, and Distribution of Methamphetamine, 21 U.S.C. § 846, 841(a)(1),
& 841(b)(1)(A)(viii); 18 U.S.C. § 2.

    • Punishable by a term of imprisonment of not less than ten (10) years and no more
      than life. 21 U.S.C. § 841(b)(1)(A).

    • A term of supervised release of at least five (5) years. 21 U.S.C. § 841(b)(1)(A).

    • A fine not to exceed $10 million. 21 U.S.C. § 841(b)(1)(A).

    • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

    • Forfeiture

If the defendant commits such a violation after a prior conviction for a serious drug felony or
serious violent felony has become final, the penalties are:

    • A term of imprisonment of not less than fifteen (15) years and no more than life. 21
      U.S.C. § 841(b)(1)(A).

    • A term of supervised release of at least ten (10) years. 21 U.S.C. § 841(b)(1)(A).

    • A fine not to exceed $20 million. 21 U.S.C. § 841(b)(1)(A).

    • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

    • Forfeiture.

If the defendant commits such a violation after two or more prior conviction for a serious
drug felony or serious violent felony has become final, the penalties are:

    • A term of imprisonment of not less than twenty-five (25) years and no more than life.
      21 U.S.C. § 841(b)(1)(A).

    • A term of supervised release of at least ten (10) years. 21 U.S.C. § 841(b)(1)(A).

    • A fine not to exceed $20 million. 21 U.S.C. § 841(b)(1)(A).

    • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

    • Forfeiture.
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